                        UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                    DOCKET NO. 3:07CR61-W

UNITED STATES OF AMERICA,                        )
                                                 )
                v.                               )
                                                 )
(5) LORENZO LEE JOHNSON                          )             PRELIMINARY ORDER
(10) TONY STEPHENS                               )               OF FORFEITURE
(13) MARCUS DUPREE COLEMAN                       )
(14) STEVEN JERMONTE CURETON                     )
(17) DANIEL JERMAINE JACKSON                     )
(18) CLIFTON VANDIVER                            )



         In the Superseding Bill of Indictment in this case, the United States sought forfeiture of

property of the defendants pursuant to 21 U.S.C. §853(a) as property that was proceeds of and/or was

used to facilitate the drug crimes charged, together with any other substitute property, which would

be subject to forfeiture under §853(p).

         Each of the above-captioned defendants entered into a plea agreement; subsequently pled

guilty to Count One in the indictment; and was adjudged guilty of the offense charged in that count.

In a plea agreement, each of these defendants has agreed to forfeit specific property as described

below.

         It is therefore ORDERED:

         1. Based upon pleas of guilty entered by these defendants, the United States is authorized

to seize the following property, and it is hereby forfeited to the United States for disposition

according to law, subject to the provisions of 21 U.S.C. §853(n):




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       (5) Lorenzo Lee Johnson

               One Ruger Model P-90 .45 caliber semi-automatic pistol, serial no. 661-88011, and
               ammunition.

               One Taurus Model PT-24/7 9mm semi-automatic pistol, serial no. TWL35644, and
               ammunition.

       (10) Tony Stephens

               $9000 in United States currency.

       (13) Marcus Dupree Coleman

               One Martin Model Glenfield 60 .22 caliber rifle, serial no. 72336963.

               One Norinco Model 213 9mm pistol, serial no. 24014995, and ammunition.

       (14) Steven Jermonte Cureton

               One Taurus PT92 9mm pistol, serial no. TSL53474, and ammunition.

       (17) Danielle Jermaine Jackson

               One European American Armory Corporation Witness Model P .45 caliber semi-
               automatic pistol, serial no. AE86311.

       (18) Clifton Vandiver

               One Glock GMBH Model 30 .45 caliber pistol, serial no. CXH772US.

               One Romarm/Cugir Model SAR-3 .223 caliber rifle, serial no. S3-07882-2000.



       2. Pursuant to 21 U.S.C. §853(n)(1), the government shall publish in a newspaper of general

circulation, notice of this order; notice of its intent to dispose of the property in such manner as the

Attorney General may direct; and notice that any person, other than the defendant, having or

claiming a legal interest in any of the above-listed forfeited property must file a petition with the

Court within thirty days of the final publication of notice or of receipt of actual notice, whichever




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is earlier. This notice shall state that the petition shall be for a hearing to adjudicate the validity of

the petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty of

perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest in each of

the forfeited properties and any additional facts supporting the petitioner’s claim and the relief

sought. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in property that is the subject of this order of forfeiture, as

a substitute for published notice as to those persons so notified.

        3. Upon adjudication of all third-party interests, this Court will enter a final order and

judgment of forfeiture pursuant to 21 U.S.C. §853(n).

                                                    Signed: February 19, 2008




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